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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                          Plaintiffs,        Case No. 1:20-cv-03010-APM

 v.                                          HON. AMIT P. MEHTA

 GOOGLE LLC,

                          Defendant.


 STATE OF COLORADO, et al.,

                          Plaintiffs,        Case No. 1:20-cv-03715-APM

 v.                                          HON. AMIT P. MEHTA

 GOOGLE LLC,

                          Defendant.



                BRIEF OF Y COMBINATOR, LLC AS AMICUS CURIAE
                          IN SUPPORT OF PLAINTIFFS


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Dated: May 9, 2025




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                     IDENTITY AND INTEREST OF AMICUS CURIAE

        Y Combinator (“YC”) is a startup accelerator and venture capital firm launched in 2005

and headquartered in San Francisco. YC is independent; we have no parent corporation, and no

publicly held corporation owns 10% or more of our stock. Since YC’s founding, we have

selected, funded, and fostered more than 5,000 startups and entrepreneurs. Our experience has

been that entrenched monopoly power often deters new entry and chills investment in disruptive

innovation. YC is constantly seeking to identify and accelerate innovative new entrants in a

wide range of markets, including digital technology markets. As a result, YC has an interest in

ensuring that U.S. technology markets are free from anticompetitive barriers to entry and

expansion. And because antitrust law has a crucial role to play in ensuring open, free

competition, we have a unique interest in ensuring that antitrust remedies are robust enough to be

effective.

                         STATEMENT OF AUTHORSHIP AND CONSENT

        YC declares that no party’s counsel authored this brief in whole or in part; no party or

party’s counsel contributed money intended to fund preparing or submitting the brief; and no

person other than YC or its counsel contributed money that was intended to fund preparing or

submitting this brief.




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                                          ARGUMENT

                                        INTRODUCTION

       The remedies stage of this case has important implications for technology startup

founding and funding. We respectfully submit this brief to share our view, based on two decades

of frontline experience, that robust antitrust enforcement here can help to foster a healthier, more

resilient, and more vibrant U.S. innovation ecosystem. The startups we work with every day

should be able to exercise their “vigor, imagination, devotion, and ingenuity,” United States v.

Topco Assocs., Inc., 405 U.S. 596, 610 (1972), in markets that are free from restrictive conduct

and illegally maintained monopoly power. YC supports Plaintiffs’ proposed remedy package as

a whole. To aid the Court’s analysis, we also highlight below particular components of the

proposed remedy as to which we believe our first-hand experience has given us unique insight

and perspective.

I.     Y COMBINATOR’S EXTENSIVE FRONTLINE EXPERIENCE FUNDING AND
       ACCELERATING TECHNOLOGY STARTUPS INFORMS OUR UNIQUE
       PERSPECTIVE.

       YC is widely recognized as the world’s leading technology startup accelerator and seed-

stage investor. For two decades, YC has been “the best program for creating top-end

entrepreneurs that has ever existed.” Taylor Cromwell, Y Combinator: The Inside Story of Tech’s

Most Influential Startup Accelerator, JUST GO GRIND, Apr. 6, 2025, https://bit.ly/4lJ4UiW

(quoting Marc Andreessen) (internal quotation marks omitted). We have funded and incubated

thousands of startups, including Airbnb, Boom Technology, Coinbase, DoorDash, Dropbox,

Instacart, Reddit, Stripe, and more. Many of them are disruptive innovators who challenged—

and ultimately changed—the status quo.




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        Today, YC alumni are worth over $800 billion combined, and more than 100 of our

alumni firms are “unicorns,” each valued at more than $1 billion. About Y Combinator, Y

COMBINATOR, https://bit.ly/3YkikrH. For example, Stripe launched out of our 2009 summer

cohort, has grown to become the world’s largest privately owned financial technology company,

and is now valued at more than $90 billion. Stripe Announces Tender Offer to Provide Liquidity

to Current and Former Employees, STRIPE, Feb. 27, 2025, https://bit.ly/3GuXr78. Stripe’s

founder put it simply: “I doubt that Stripe would have worked without YC.” Quotes, Y

COMBINATOR, https://bit.ly/4lNP7j3.

        In short, YC has unparalleled first-hand experience selecting, funding, and fostering some

of the world’s most creative disruptors and entrepreneurs. We work with startups at all stages,

from pre-launch to post-launch. We also maintain a very active alumni community that keeps us

in close contact with the generations of founders who graduate from our program. The depth and

breadth of our experience gives us unique insights into the U.S. technology ecosystem and the

markets that Google’s conduct has affected.

II.     OPEN COMPETITION IN FREE MARKETS IS ESSENTIAL FOR A HEALTHY
        INNOVATION ECOSYSTEM.

        YC has selected, funded, and fostered disruptive entrants in many different sectors over

the years. But by foreclosing competition, Google has chilled independent firms like YC from

funding and accelerating innovative startups that could otherwise have challenged Google’s

dominance. The result is a landscape that has been artificially stunted and stagnant. In our view,

Plaintiffs’ proposed remedy package would help to unlock a more dynamic, globally competitive

U.S. technology startup ecosystem.




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       A.      Google’s Conduct Has Limited Startup Founding and Funding
               Opportunities.

       This Court’s liability ruling rightly underscores the harm that Google’s monopolistic

conduct has inflicted on innovation funding. United States v. Google LLC, 747 F. Supp. 3d 1,

165–71 (D.D.C. 2024) (concluding that Google’s conduct “contributed significantly to the lack

of new investment”). This finding aligns with our experience: independent venture-capital firms

like YC often hesitate to fund startups in the “kill zone”—the area of deadened innovation

around a monopolist like Google.1 It also aligns with decades of established judicial wisdom.

We agree with the U.S. Supreme Court that “immunity from competition is a narcotic, and

rivalry is a stimulant, to industrial progress.” Am. Tobacco Co. v. United States, 328 U.S. 781,

813 (1946) (quoting United States v. Aluminum Co. of Am., 148 F.2d 416, 427 (2d Cir. 1945)

(Hand, J.)) (internal quotation marks omitted).

       Emerging research confirms this common-sense proposition. Early-stage startups funded

by independent firms like YC are more likely to engage in paradigm-shifting innovation. See

Daisy Wang, Dancing with the Giants: CVC Investments and Startup Outcomes 4 (Nov. 8, 2024),

https://bit.ly/4cZJkmA. When incumbents do engage in “research and development” spending,

their activity is negatively correlated with creative disruption, new entry, and productivity in the

affected sectors. Jesús Fernández-Villaverde, Defensive Hiring and Creative Destruction 3, 47

(Nat’l Bureau of Econ. Research, Working Paper No. 33588, 2025), https://bit.ly/4cSmxJj.




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          Economic research on kill zones similarly aligns with YC’s first-hand experience. See,
e.g., Sai Krishna Kamepalli et al., Kill Zone 35 & fig. 2a (Nat’l Bureau of Econ. Research,
Working Paper No. 27146, 2022) (describing empirical finding that venture-capital investment in
a given industry sector drops by 40% after Google or Facebook make a major acquisition in that
sector); see also Asher Schecter, Google and Facebook’s “Kill Zone”: “We’ve Taken the Focus
Off of Rewarding Genius and Innovation to Rewarding Capital and Scale,” PROMARKET, May
25, 2018, https://bit.ly/4iFGEeO.


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Unfortunately, “the general search services market has remained static for at least the last 15

years, with investments largely coming from established players.” Google, 747 F. Supp. 3d at

165.

       Dominant incumbents have a strong interest in maintaining the status quo. And Google’s

conduct has had that effect. YC currently sees a landscape that has been artificially stunted—

“the antithesis of a competitive market,” as this Court put it. Id. at 159. If implemented,

Plaintiffs’ proposed remedy package would help to attract a new wave of independent venture

funding from a variety of sources, including YC.

       B.      Effective Antitrust Enforcement Is Especially Important During
               Technological Inflection Points Like the Ongoing AI Revolution.

       Experience has taught us that technological inflection points are critical moments for

competition and innovation. The rise of novel, transformative technology can create an opening

for nimble startups to disrupt established incumbents. At an inflection point, “simply adopting

new technology or fighting the competition as you used to may be insufficient.” ANDREW S.

GROVE, ONLY THE PARANOID SURVIVE 4 (1996). Dominant incumbents often respond by using

exclusionary conduct to try to slow down or coopt the future. See, e.g., Mark A. Lemley &

Matthew T. Wansley, Coopting Disruption, 105 B.U. L. REV. 457, 460 (2025). For example,

during the mid-1990s, Microsoft recognized the disruptive potential of web-based software

applications and reacted by anticompetitively blocking rival internet browsers from reaching

users. United States v. Microsoft Corp., 253 F.3d 34, 60 (D.C. Cir. 2001). More recently,

Facebook recognized the explosion in usage of mobile applications and reacted by acquiring

mobile-native startups that it viewed as competitive threats. See FTC v. Meta Platforms, Inc.,

No. CV 20-3590 (JEB), 2024 WL 4772423, at *29–30 (D.D.C. Nov. 13, 2024) (“[T]he case for

buying Instagram focused heavily on neutralizing a competitive threat.”).



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        In our view, the rise of generative artificial intelligence (“AI”), query-based AI, and

agentic AI tools has the potential to be an especially significant inflection point. “We’re at the

dawn of a brand-new platform. When that occurs, we have to make sure that there is space for

the little guy,” as our president and CEO recently observed. Tan on AI, WASH. POST, Oct. 2,

2024, https://bit.ly/4j5GDBY. Just developing a new product is not enough to guarantee success.

Founders also need to be able to get their products into the hands of users, free from restrictive

dealing and self-preferencing that locks up important distribution channels. As things stand,

Google has locked up the most critical distribution channels, freezing the general search and

search text advertising markets into static competition for more than a decade. Google, 747 F.

Supp. 3d at 165, 177. YC believes that this is a moment when dynamic competition could break

out, but effective antitrust remedies in this case will be critical for the innovative startups

currently trying to attract venture capital, reach users, and gain scale.

        C.      Robust Antitrust Remedies in This Case Can Help Clear a Path for the Next
                Generation of Startups.

        Antitrust remedies have a long track record of unlocking American dynamism and

ingenuity. An antitrust consent decree in 1956, for example, required AT&T to provide open

access to its patents and technical manufacturing information. That remedy order helped usher in

the modern digital age, in large part because it enabled “young and small” firms—what we think

of today as “little tech” companies—to compete. See Martin Watzinger et al., How Antitrust

Enforcement Can Spur Innovation: Bell Labs and the 1956 Consent Decree, 12 AM. ECON. J.

ECON. POL’Y 328, 330 (2020). A new generation was able to enter and expand in a multitude of

markets, helping to vault the United States into position as the world’s leader in technological

innovation. Id. Economists have called the 1956 antitrust decree “one of the most unheralded




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contributions to economic development” in history, and the co-founder of Intel called it “one of

the most important developments for the commercial semiconductor industry.” Id. at 332.

       This tradition has continued in the modern era. In 2022, for example, the U.S. Federal

Trade Commission blocked Nvidia Corp.’s proposed acquisition of Arm Ltd., a semiconductor

technology firm. Arm’s CEO later explained that the structural separation “helped us” focus on

delivering better products at a time when “more applications [were] moving towards the cloud”

and “AI [was] starting to raise its head.” An Interview with Arm CEO Rene Haas, STRATECHERY,

Jan. 11, 2024, https://bit.ly/449JZzk. Arm has since gone public on the Nasdaq stock exchange,

delivered record revenues, and is now worth more than $100 billion. Erin Griffith & Don Clark,

Arm Soars 25% in the Year’s Biggest Initial Public Offering, N.Y. TIMES, Sept. 14, 2023; ARM,

FYE25 – Q1 SHAREHOLDER LETTER (2024), https://bit.ly/4cVewmS; ARM Holdings PLC ADR,

MORNINGSTAR, https://bit.ly/3ENmlOL. Meanwhile, Nvidia’s earnings have nearly quintupled

as its chips helped to fuel the rise of generative AI technology. Compare Press Release,

NVIDIA, NVIDIA Announces Financial Results for Second Quarter Fiscal 2022 (Aug. 18,

2021), https://bit.ly/4lTQ2OU, with Press Release, NVIDIA, NVIDIA Announces Financial

Results for First Quarter Fiscal 2025 (May 22, 2024), https://bit.ly/4iJHTd3.

       In fact, Google itself has benefited greatly from previous antitrust enforcement efforts.

As our president and CEO recently pointed out, “Google and Chrome emerged precisely because

Microsoft’s monopoly was curtailed.” Big Fixes for Big Tech: Hearing Before the Subcomm. on

Antitrust, Competition Pol’y, and Consumer Rights of the S. Comm. on the Judiciary, 119th

Cong. (2025) (testimony of Garry Tan, Pres. & CEO of Y Combinator) (hereinafter Testimony of

Garry Tan). Unfortunately, after gaining sufficient scale for itself, Google pulled the ladder up

behind it. Google, 747 F. Supp. 3d at 159 (“[N]ew entrants cannot hope to achieve a scale that




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would allow them to compete with Google.”). Like Microsoft and AT&T, this case offers an

opportunity for antitrust remedies to pave the way for the next generation of technology startups

and entrepreneurs.

       Remedies to restore lost competition are important. But we believe that forward-looking

provisions are also necessary to let independent startups take full advantage of this critical

moment in technology history. A remedy order narrowly confined to the relevant markets that

Google has already monopolized would carry a high risk of remedy failure. 2 Monopolists

generally enjoy “myriad” ways to stifle competition. Microsoft Corp., 253 F.3d at 58. And when

its reach already extends into multiple markets, a monopolist has even more anticompetitive

tools at its disposal. See, e.g., Omni Healthcare Inc. v. Health First, Inc., No. 6:13-cv-1509-Orl-

37, 2016 WL 4272164, at *16 (M.D. Fla. Aug. 13, 2016) (“[Defendant]’s vertical integration,

combined with its dominance in the [relevant] market . . . , allows it to impair competition in

multiple markets through exclusionary tactics and facilitate the exercise of monopoly power in

markets . . . where its market share appears relatively low when viewed in isolation . . . .”).

       YC is currently seeking to fund and accelerate startups developing query-based AI

solutions and AI-based agentic tools that could transform how people interact with information

across the internet. These tools have the potential to disrupt Google’s decades-long monopoly in




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         Our view that an effective remedy should go beyond the particular relevant markets that
Google has already monopolized aligns with decades of judicial wisdom. In International
Boxing Club v. United States, for example, the Supreme Court affirmed an order package with
remedies that “went beyond the ‘relevant market’ which [was] considered for purposes of
determining the Sherman Act violations.” 358 U.S. 242, 256 (1959). And in that case, the
defendants had engaged in illegal conduct for less than a decade, id. at 252 (calling that
troublingly “long”), had voluntarily ceased much of their illegal conduct, and had seen their
market share decline to 65% by the time judgment issued. Here, Google’s conduct has continued
for more than a decade, and its market shares remain nearly 90%. Google, 747 F. Supp. 3d at
119, 138.


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general search. From our vantage point, we see a clear risk that, absent judicial protection,

Google will use its current monopoly power to slow down or coopt the future of multiple

markets, including query-based and agentic AI. See generally Lemley & Wansley, supra, at 497

(“It once seemed plausible that AI would be developed by a new generation of independent

companies. Now it seems likely that the tech giants will shape the direction of AI

development.”). An effective remedy package should help to leverage the current moment by

ensuring that the startups and inventors working on these next-generation tools can flourish free

from anticompetitive exclusion or interference.

III.      TO BE EFFECTIVE, THE REMEDY ORDER SHOULD INCLUDE FORWARD-
          LOOKING COMPONENTS.

          Free, open competition will be essential to harness the full potential of future innovation

in and around the markets affected by Google’s monopolistic conduct. That conduct helped

Google maintain the status quo and its dominant market positions for more than a decade.

Google, 747 F. Supp. 3d at 159. In our experience, entrenched power of this size and scope is

not easy to dislodge. Disruptive innovation is the most likely source of true competition to

Google. A remedy order that includes forward-looking components could enable this type of

innovation to flourish, materially lowering the funding risks for independent sources of capital

and expertise. By doing so, the remedy order could enable funders like YC to accelerate the next

generation of disruptors. New ideas from new sources can help to displace Google’s “static”

monopolies with dynamic competition. Id. at 165. That competition would act as a free-market

check on any attempts by Google to anticompetitively re-establish its monopoly power in the

future.3 Plaintiffs’ proposed remedy package as a whole would effectively facilitate that type of



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         Our perspective again aligns with decades of judicial experience and antitrust caselaw.
As this Circuit has instructed, the remedy “must seek to unfetter a market from anticompetitive


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competition. In the discussion that follows, we highlight particular aspects of the proposed

remedy as to which our first-hand experience has given us unique insight and perspective.

       A.      The Remedy Should Open Access to Google’s Datasets and Search Index.

       We agree with Plaintiffs’ proposal that the remedy package should create pathways for

startups and innovators to access Google’s monopoly-derived datasets and search index. See

Exec. Summ. Plaintiffs’ Revised Proposed Final Judgment, at 10–11, ECF No. 1184 (hereinafter

Plaintiffs’ Exec. Summ. RPFJ). Making Google’s search index and datasets available with

adequate privacy safeguards will help to enable the competitive development of innovative, user-

friendly search and AI-driven query-based tools.

       As things now stand, Google’s conduct has given it “access to scale that its rivals cannot

match.” Google, 747 F. Supp. 3d at 159. And “Google has used that [same] scale to improve its

search product.” Id. That means “new entrants cannot hope to achieve a scale that would allow

them to compete with Google.” Id. The result is a static “vicious cycle.” Id. (quoting Nadella).

       Access to Google’s user datasets and search index offers a way out of this cycle.

Opening access would help to reinvigorate competition in online search and also accelerate the

development and deployment of transformative query-based AI solutions, which depend on

access to data inputs. In other words, an access remedy component would help both to restore

lost static competition and also to catalyze dynamic competition.




conduct, to terminate the illegal monopoly, [and] deny to the defendant the fruits of its statutory
violation.” Microsoft Corp., 253 F.3d at 103 (quoting Ford Motor Co. v. United States, 405 U.S.
562, 577 (1972), and United States v. United Shoe Mach. Corp., 391 U.S. 244, 250 (1968)
(internal quotation marks and citations omitted)). But that is not all: the remedy “must [also]
seek to . . . ensure that there remain no practices likely to result in monopolization in the future.”
Id.


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       Access remedies have long been an important part of the antitrust remedy toolkit. See,

e.g., Int’l Boxing, 358 U.S. at 252 (affirming order that required access to critical asset on “fair

and reasonable” terms to any “duly qualified” applicant); Besser Mfg. Co. v. United States, 343

U.S. 444, 447–48 (1953). More recently, “[t]he landmark Microsoft antitrust case exemplified

how mandated open API access and prohibitions against exclusionary agreements unlocked

competition.” Testimony of Garry Tan, supra, at *3. Open access in this case would incentivize

YC and similar independent venture-capital firms to identify and invest in markets that have

remained too static for too long.

       B.      The Remedy Should Prevent Google from Extending Its Monopolies into
               Query-Based AI Tools.

       An effective remedy package should help to leverage the current moment by ensuring

that next-generation search and query-based AI tools can reach users free from exclusion,

interference, or cooption. We see a clear risk that, absent a robust remedy order in place, Google

will extend its dominant position in online search into emerging markets for query-based AI

tools. In our view, the remedy package should prevent Google from anticompetitive self-

preferencing, and this prohibition should apply specifically to Google’s use of its monopoly

search product to boost its query-based AI tools or discriminate against rivals’ tools. See

Plaintiffs’ Exec. Summ. RPFJ, at 9. The remedy order should also prevent Google from entering

into exclusive agreements to access AI training data, which would foreclose startups and

innovators from accessing this critical input. See id. at 8. These forward-looking provisions

would help to give next-generation startups a more level playing field on which to enter and

compete.




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       C.      The Remedy Should Prevent Google From Entering Pay-to-Play
               Arrangements with Distributors.

       In YC’s view, the remedy package should also limit Google’s ability to enter pay-to-play

arrangements with distributors. See Plaintiffs’ Revised Proposed Final Judgment, Pt. IV, at 7–12,

ECF No. 1184-1 (hereinafter Plaintiffs’ RPFJ). For more than a decade, Google’s restrictive

agreements have locked up more than half of the independent distribution channels for general

search. Google, 747 F. Supp. 3d at 154, 157 (finding that half of all U.S. search queries run

through agreement-affected distribution channels, and that another 20% of queries run through

user-downloaded Chrome). During that time, we have seen the emergence of multiple

potentially paradigm-shifting backbone technologies, including generative AI. In the normal

give-and-take of a healthy marketplace, potential profits should attract both new entry and

transformative disruptors. Yet the markets monopolized by Google have remained both highly

lucrative and competitively static. Id. at 165.

       New startups that would challenge Google’s dominance—whether by offering novel

general search options or next-generation query-based AI solutions—need to be able to reach

users. But Google’s conduct has made “the ecosystem exceptionally resistan[t] to change.” Id.

at 159 (quoting Ramaswamy). This is why, in our view, an effective remedy must prohibit both

the particular exclusivity restrictions that Google has used before and also payments by Google

for access to choice screens. See Plaintiffs’ Exec. Summ. RPFJ, at 7–8; see also Schine Chain

Theatres v. United States, 334 U.S. 110, 119 (1948) (“Even an otherwise lawful device may be

used as a weapon . . . in an effort to monopolize a part of trade or commerce.”). As part of the

overall remedy package, this would immediately open distribution channels that could help YC-

accelerated startups thrive.




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        D.      The Remedy Order Should Deter Circumvention and Retaliation.

        An effective, forward-looking remedy order will also need to anticipate and prevent

potential remedy circumvention. Monopoly power gives a monopolist myriad ways to exclude

competition. Microsoft, 253 F.3d at 58. When a monopolist’s reach extends across multiple

markets, it has even more anticompetitive tactics at its disposal. Omni Healthcare Inc., 2016 WL

4272164, at *16 (observing that “[defendant]’s vertical integration, combined with its dominance

in the [relevant] market . . . , allows it to impair competition in multiple markets through

exclusionary tactics and facilitate the exercise of monopoly power in markets . . . where its

market share appears relatively low when viewed in isolation”).

        The remedy order will also need to anticipate and prevent any retaliation against startups

that seek to compete on the merits. YC’s experience has been that many startups are concerned

about Google’s ability to exclude, punish, or retaliate against them. Strong anti-circumvention

and anti-retaliation provisions are both essential here to create a space in which founders can

confidently innovate. The proposals laid out in Plaintiffs’ RPFJ, Pt. X, at 31–48, including the

establishment of a fully independent technical committee, would help to ensure an effective

remedy in this case.

        An effective remedy order should, in our view, also include Plaintiffs’ proposed

contingent-spinoff requirement for Google’s Android platform. Plaintiffs’ Exec. Summ. RPFJ, at

9. If triggered, a spinoff could help to restore Android’s lost potential as a truly open mobile

platform. And whether or not the spinoff requirement is actually trigged, its inclusion in the

overall remedy package would help to create a strong incentive for Google to comply with both

the letter and the spirit of this Court’s order.

                                            *      *     *




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                                         CONCLUSION

       YC has spent the past two decades selecting, funding, and accelerating some of the

world’s most innovative startup companies. Our alumni have a remarkable track record of

success in a wide range of markets. But from our vantage point, Google’s conduct has caused a

vitally important sector to remain stagnant for too long. “The unchecked concentration of power

in big tech has severely limited innovation, harmed consumers, and undermined America’s

global competitiveness.” Testimony of Garry Tan, supra, at *2. In YC’s experience, free-market

competition is the best recipe for a dynamic technology startup ecosystem. An effective remedy

in this case would clear a path for independent sources of startup capital and expertise like YC to

accelerate a new generation of founders, inventors, and entrepreneurs working to deliver world-

changing innovations.




Dated: May 9, 2025                                 Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2025, I electronically filed a true and correct copy of the

foregoing BRIEF OF Y COMBINATOR, LLC AS AMICUS CURIAE IN SUPPORT OF

PLAINTIFFS with the Clerk via the CM/ECF system which will send notification of such filing

and service upon all counsel of record.




Dated: May 9, 2025                                 Respectfully Submitted,


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